       Case 1:19-cv-00150-DLF          Document 195        Filed 08/24/23      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BROIDY CAPITAL MANAGEMENT LLC and
ELLIOTT BROIDY,

                     Plaintiffs,
                                                           Civil Action No. 1:19-cv-00150-DLF
            v.

NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC,

                     Defendants.


            STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
                     AS TO DEFENDANT JOSEPH ALLAHAM

       Pursuant to Fed R. Civ. P. 41, IT IS HEREBY STIPULATED AND AGREED between

Plaintiffs Broidy Capital Management, LLC and Elliott Broidy (together, “Plaintiffs”) and

Defendant Joseph Allaham (“Allaham”) that all of Plaintiffs’ claims asserted against Allaham in

the above-captioned action are dismissed with prejudice, without interest or costs to any party.

For the avoidance of doubt, this stipulation of dismissal applies only to Allaham, and not to

Plaintiffs’ claims against the other Defendants, which Plaintiffs are continuing to pursue.


Dated: August 24, 2023

                                                 Respectfully submitted,

                                                 KASOWITZ BENSON TORRES LLP

                                                 By: /s/ Daniel R. Benson
                                                 Daniel R. Benson (pro hac vice)
                                                 Sarah G. Leivick (pro hac vice)
                                                 Sarmad M. Khojasteh (pro hac vice
                                                 forthcoming)
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      Case 1:19-cv-00150-DLF   Document 195    Filed 08/24/23     Page 2 of 2




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                                     Counsel for Plaintiffs Broidy Capital
                                     Management and Elliott Broidy




SO ORDERED:

Dated: Washington, D.C.
       ______ __, 2023
                                   ______________________________________
                                   Hon. Dabney L. Friedrich
                                   United States District Judge




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